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                          Ex. A
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John Atkin

From:                             johndoeNYC1 <johndoeNYC1@protonmail.com>
Sent:                             Sunday, March 6, 2022 11:51 PM
To:                               John Atkin
Subject:                          RE: Activity in Case 1:21-cv-00792-WFK-RML Strike 3 Holdings, LLC v. John Doe
                                  subscriber assigned IP address 74.72.24.181 Status Report Order


I did not see your feb 18th email until last Wednesday the 2nd of March. I was going to send you an email response
on Friday and saw your email pertaining to your status update draft.



I am totally disturbed at the fact you are omitting many of the the facts pertaining to our correspondence and twisting
stuff.



Why is there no mention of my first email to you on aug 7th 2021 requesting for you to file a motion to extend the
deadline for me to file a motion to quash.
To refresh your memory in that email I asked for an extension of 2-4 weeks so that we could negotiate and stated
that the email was not an admission of guilt but that negotiation would benefit all parties involved due to my valid
defense I would present.


Your response was that your client discourages negotiating with unrepresented parties and for me to retain council.


I had then explained to you that I do not intend to retain a lawyer as up to that point I spoke with so many of them
and none shown an ability to properly defend these cases.


That was the first time you refused my good faith effort to explain my defense to you and to give you some of my
proof that I am not guilty of what your clients are claiming and give you the information pertaining to my dire financial
situation as to why I don’t have the funds to even hire a lawyer if I found one that showed the ability to defend
properly instead of trying to force a settlement.


There was also discussion about the deadline I was under the impression of was not accurate as my notification
from spectrum showed aug 9th 2021. I’m unsure how if you sent notice of the subpoena order to spectrum on March
2nd why it took them until June 7th to notify me which is 30+ days passed the 60 days for them to notify me.


You did ask for a settlement offer in your aug 8th email but as I am not guilty of what is being claimed I did not make
one. The only reason I would even consider entertaining a settlement is because I do not have 20-50k to defend
myself and as I mentioned you refused my good faith effort to present my defense to you. As I explained to you
about my financial situation in January I did not even have the funds to pay 2k to retain a lawyer for settlement
negotiations and have further funds to offer a figure.


The rest of that early correspondence is redundant as there was obviously a major screw up in notifying me as per
the court order. If you want I can’t send you the first page of the notification that shows the deadline as aug 9th
2021.



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You also fail to mention in your status report that every email you sent me you made it a point to recommend I
retain council even though I explained I did not intend to retain one and showed my intent to be pro se. unfortunately
I wish I had the funds to pay a lawyer because this whole thing is totally ridiculous and you would have maybe
understood my position and more likely than not would not have persued the complaint if you spoke to me on the
phone or on a Skype call.


You also fail to mention in your status update that there was never a formal waiver of service requested which as I
explained I did not even know was a thing until dec, your process server claimed to make good faith efforts but by
her affidavit came at basically the same times on most of her attempts and failed to make any attempts between
2pm and 7pm when I or someone in my house would have highly likely been able to be properly served.
Furthermore if she would have attempted between 2:30 and 3pm on any school day she would have been able to
serve me or my sister when my niece and nephew were picked up from school. She also made no mention that my
doorbell does not work but claims there was no answering after ringing the bell.. She also made no mention of any
attempt at waiting for me or someone residing at my house to be served.
There is also no mention that she made an excuse of the hurricane causing her not being able to make an
expedited attempt until the following week when there was no flooding in Staten Island which was used in your
extension request on sept 9th but claims her first attempt was that Friday sept 4th as per her affidavit.

On a side not If you could please provide me with the postage proof as I was never supplied it by you and Never
received the required copy in the mall.


As for your information pertaining to the extensions. As I wrote to you in my email in jan the first extension should
have never been required as it was a mess up on your end due to not contacting the court clerk to fix the deadline
on the docket. You wrote that there was a confusion with the effective date of deadline but that was not the case.
When I contacted you about an extension it was to honor the true deadline as per rules of civil procedure when nail
and affix service is used. You failed to mention that it was YOU that recommended I request a 30 day extension
which was not necessary and only caused delay in my filing my motions/answer.


The second extension when you asked how much time I needed I explained to you 10-14 days at the most and you
again recommended that I ask for more days as it was the second request and because the court would not give me
more time if I only asked for 14 days and that due to the holidays the court would not have an issue extending it 30
days. This again caused a delay.


Our last correspondence you also are not giving the whole picture. The discussion never moved towards a potential
settlement as from what I mentioned in this email I am not guilty of what’s being claimed and have a valid defense
just no funds to properly defend myself. When I explained my financial situation it was in regards to why I was
unable to retain council and because as was discussed mr Williamson’s declaration includes him making the claim
that your clients do not persue defendants that have financial hardship. We also discussed that I was having major
issues with procedural requirements on proper filing and how it’s impossible for someone to defend themselves
under those circumstances. You brought up the confidentiality agreement but never sent it to me to go over, You
also fail to mention that you recommended yet again that I speak with an attorney before deciding to provide the
information. After explaining my financial situation you know that retaining a lawyer would be impossible unless I got
one willing to take the case pro Bono.

From our last correspondence to 2 weeks ago I contacted numerous lawyers many of which did not even return my
calls. The ones I spoke to had zero interest due to the immense cost of defending these cases. It was also
mentioned that your clients aggressively go after people who file motion to quash in Florida.

I’m unsure if you have any intention of adding all these facts to your status update report but if you don’t please let
me know in the morning so that I can file a status report on my end including all the facts.




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Sent with ProtonMail Secure Email.

------- Original Message -------
On Thursday, March 3rd, 2022 at 10:52 AM, John Atkin <JAtkin@atkinfirm.com> wrote:



       Dear Sir,



       To date, I have not received a response to my email from February 18, 2022 below.



       Attached is a draft status report that I intend to file with the Court on Monday, March 7. If you have
       any edits you would like me to include, please let me know.



       Thank you.



       John C. Atkin, Esq.

       The Atkin Firm, LLC

       55 Madison Avenue, Ste. 400, Morristown, NJ 07960

       Tel: (973) 314-8010 / Fax: (833) 693-1201

       JAtkin@AtkinFirm.com



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       From: John Atkin
       Sent: Friday, February 18, 2022 11:01 AM
       To: johndoeNYC1 <johndoeNYC1@protonmail.com>
       Subject: FW: Activity in Case 1:21-cv-00792-WFK-RML Strike 3 Holdings, LLC v. John Doe subscriber
       assigned IP address 74.72.24.181 Status Report Order



       Dear Sir,
                                                                                3
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  The court entered a Text Order today asking for us to submit a status report in this matter. I do not
  believe I have received a response to my last email on January 17, 2022. I believe the two outstanding
  issues are:



       1. You asked for consent for a third extension of time to file a pre-trial motion, but did not explain
          what the basis of that motion would be. Could you please provide what the basis of that motion
          will be so I may discuss with my client to provide its consent?



       2. You raised your financial hardship as part of potential settlement discussions, and I outlined
          various documents my client was willing to review to substantiate that claim, subject to a
          confidentiality agreement. Do you still wish to provide this information subject to a
          confidentiality agreement?



  Thank you.



  John C. Atkin, Esq.

  The Atkin Firm, LLC

  55 Madison Avenue, Ste. 400, Morristown, NJ 07960

  Tel: (973) 314-8010 / Fax: (833) 693-1201

  JAtkin@AtkinFirm.com



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  attachments from your system. Thank You.




  From: ecf_bounces@nyed.uscourts.gov <ecf_bounces@nyed.uscourts.gov>
  Sent: Friday, February 18, 2022 10:07 AM
  To: nobody@nyed.uscourts.gov
  Subject: Activity in Case 1:21-cv-00792-WFK-RML Strike 3 Holdings, LLC v. John Doe subscriber assigned
  IP address 74.72.24.181 Status Report Order




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  not apply.

                                              U.S. District Court

                                         Eastern District of New York

  Notice of Electronic Filing


  The following transaction was entered on 2/18/2022 at 10:07 AM EST and filed on 2/18/2022

  Case Name:       Strike 3 Holdings, LLC v. John Doe subscriber assigned IP address 74.72.24.181
  Case Number:     1:21-cv-00792-WFK-RML
  Filer:
  Document Number: No document attached

  Docket Text:
  STATUS REPORT ORDER: Status Report due by 3/7/2022. Ordered by Magistrate
  Judge Robert M. Levy on 2/18/2022. (Marino, Janine)


  1:21-cv-00792-WFK-RML Notice has been electronically mailed to:

  John C. Atkin JAtkin@atkinfirm.com, 2277331420@filings.docketbird.com, AtkinFirm@gmail.com,
  copyright@ecf.courtdrive.com

  1:21-cv-00792-WFK-RML Notice will not be electronically mailed to:




                                                       5
